     6:17-cv-00247-JHP Document 17 Filed in ED/OK on 09/12/17 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF OKLAHOMA

BILLIE MONROE,                                 )
                                Plaintiff(s)   )
                                               )
                    v.                         )    Case No. CIV-17-247-JHP
                                               )    Date: 9/12/2017
HARTFORD UNDERWRITERS                          )    Time: 10:55 a.m. - 11:05 a.m.
INSURANCE COMPANY,                             )
                   Defendant(s).               )

            MINUTE SHEET - STATUS AND SCHEDULING CONFERENCE

 JAMES H. PAYNE, Judge                  G. Seward, Law Clerk
                                        C. Trzcinski, Deputy Clerk

Counsel for Plaintiff: W. Cullen McMahon
Counsel for Defendant: Jodi W. Dishman

Minutes: Theories of the case discussed. Scheduling Order entered into and follows these
minutes.
